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                                             United States of America
                                    FEDERAL TRADE COMMISSION
                                            Washington, DC 20580



    Annette Soberats
Division of Advertising Practices
202-326-2921; asoberats@ftc.gov


                                                            July 12, 2022
      VIA ECF
      Hon. Louis L. Stanton, U.S.D.J.
      U.S. District Court-S.D.N.Y.
      500 Pearl Street
      New York, NY 10007

      RE:        FTC, et al. v. Quincy Bioscience Holding Co., Inc., et al. (17-CV-00124-LLS)
                 Plaintiffs’ Request for Daubert Briefing

      Dear Judge Stanton:

      Pursuant to Rule 2.A. of Your Honor’s Individual Practices, Plaintiffs, the Federal Trade
      Commission and the Office of the Attorney General of the State of New York, respectfully
      request that the Court grant them leave to file a motion under Federal Rules of Evidence 403 and
      702, as well as Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), and its progeny, to
      exclude opinions of Defendants’ seven experts on various grounds, including those set forth
      below.1 Because these experts offer opinions that are irrelevant, unreliable, and not grounded in
      their expertise, the Court should use its gatekeeping power to prevent Defendants from offering
      testimony that would mislead the jury rather than educate it. See FTC v. Vyera Pharms., LLC,
      No. 20cv00706 (DLC), 2021 WL 5336949, at *3 (S.D.N.Y. Nov. 16, 2021); In re LIBOR-Based
      Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 469 (S.D.N.Y. 2018).

      Defendants’ Experts Offer Improper Legal Conclusions That Are Outside Their Expertise,
      Within the Purview of the Court to Decide, and Based on Irrelevant and Erroneous Legal
      Conclusions. Most of Defendants’ experts offer opinions regarding the appropriate legal
      standard for substantiating the advertising claims made in this case. Specifically, Defendants’
      experts argue that a randomized controlled trial is not required to substantiate the challenged
      claims, based on a legal interpretation of the Dietary Supplement Health & Education Act of
      1994 (enforced by the FDA) and FTC law and guidelines. Defendants’ experts base their
      opinions on law, rather than any scientific expertise. These opinions are inadmissible.

      First, these experts are not legal or regulatory experts and therefore are unqualified to offer such
      opinions. To the extent that Defendants wish to make legal arguments, they must make them to
      the Court and let the Court decide.



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       Given that Defendants have seven experts who offer a wide range of impermissible opinions,
      Plaintiffs’ letter-motion highlights only some of Plaintiffs’ proposed Daubert challenges.
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Second, opinions about the appropriate legal standard are generally impermissible, as they do not
constitute “scientific knowledge,” do not have a reliable basis in any scientific discipline, and
impermissibly intrude upon the duty of the Court to instruct the jury with regard to the applicable
law. See In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F. Supp. 3d at 469.

Third, Defendants’ experts’ legal opinions are simply wrong. They are based on erroneous
interpretations of FDA evidentiary standards, the FTC Act, and an FTC guidance document
aimed at explaining the law to marketers, Dietary Supplements: An Advertising Guide for
Industry. With respect to FDA evidentiary standards, the law is clear they are irrelevant in a case
involving liability for deceptive advertising under the FTC Act and parallel New York statutes.
See Bristol-Myers Co. v. FTC, 738 F.2d 554, 559 (2d. Cir. 1984) (“Insofar as FDA requirements
and regulations are concerned, they simply do not govern this case.”); FTC v. Wellness Support
Network, Inc., No. 10-4879, 2013 WL 5513332, at *10 (N.D. Cal. Oct. 4, 2013) (FDA
classification of a product as a drug or medical food was irrelevant; granting FTC’s motion to
exclude testimony of expert as it did not constitute “scientific knowledge”). Even if FDA
standards were relevant, they are consistent with the applicable legal standard in this case, which
is the type of evidence that experts in the relevant field would consider competent and reliable.
With respect to the FTC Act and guidance, which is the relevant standard in this case, courts
look to experts in the relevant scientific field to establish the scientific standard.

Defendants’ experts’ opinions about the evidence necessary to substantiate the challenged
claims, as well as the sufficiency of Defendants’ proffered substantiation, are based not on
science, but on their flawed interpretation of the law. Their conclusions are not based on any
evaluation of what type of evidence experts in the relevant fields of memory and cognition
would require. As a critical step of their reasoning is based not on the scientific method, but on
flawed legal interpretations, Defendants’ experts’ substantiation analysis is unreliable and
inadmissible. See Amorgianos v. Amtrak, 303 F.3d 256, 267 (2d. Cir. 2002).

Dr. Kurzer Lacks Expertise to Testify About Memory, Cognitive Function, and the Clinical
Significance of Defendants’ Substantiation. Dr. Kurzer, a professor of nutrition, concedes that
she is not an expert in cognitive function or statistics. She lacks training and clinical experience
in any fields related to memory or cognitive function. Her opinions on memory and cognition, as
they relate to Prevagen and its ingredients, rest on articles written by others, on issues for which
she offers no expertise of her own. Dr. Kurzer simply has no adequate qualifications to offer
competent testimony on memory and cognitive function, the clinical significance of study results
or treatment, and whether Vitamin D or apoaequorin (Prevagen’s active ingredients)
supplementation improves memory and cognition. It is well established that a witness may not
offer expert testimony on subjects in which she lacks expertise. See Shea v. Long Island R.R.
Co., No. 05-cv-9768 (LLS), 2009 U.S. Dist. LEXIS 43748, at *2 (S.D.N.Y. May 20, 2009).

Dr. Katz Lacks Expertise to Testify About a Re-Analysis of the Madison Memory Study
Using the Seemingly Unrelated Regressions (“SUR”) Econometric Model. During his
deposition, Dr. Katz conceded that he “profess[es to have] no specific expertise in this analytical
method,” and had never used the SUR model before being retained for this matter. The bases of
his opinions about the SUR model are conversations he had with one of the economists who
conducted the SUR re-analysis. “[A] proffered expert may not simply pass off as [his] own, or
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serve as a vehicle for presenting, the opinions of others in subjects on which the proffered expert
is not personally qualified.” Hart v. BHH, LLC, No. 15-CV-4804, 2018 U.S. Dist. LEXIS 12131,
at *23 (S.D.N.Y. July 19, 2018); see also Louis Vuitton Malletier v. Dooney Bourke, Inc., 525 F.
Supp. 2d 558, 664-66 (S.D.N.Y. 2007) (excluding testimony based solely on statistical analysis
of consulting expert that testifying expert was not qualified to conduct or interpret).

Dr. Goodman Lacks Expertise to Testify About Apoaequorin, and His Discussion of
Allergens Should be Excluded as Unreliable. Dr. Goodman seeks to opine that apoaequorin, a
dietary protein, might have a therapeutic effect, but he bases his opinions on proteins that are
allergens, and thus, have vastly different properties from those of apoaequorin. Dr. Goodman
lacks expertise on dietary protein absorption and bioactivity outside the context of allergens and
celiac peptides and therefore cannot opine on how apoaequorin is digested or absorbed, or
whether a particular amount of apoaequorin could have a therapeutic effect. Second, Dr.
Goodman speculates about how peptides might have bioactive properties, but this sort of
testimony is irrelevant and misleading because he has not cited evidence that apoaequorin
produces any peptides in digestion, let alone bioactive ones. This kind of testimony would not
serve to assist the jury, and should, therefore, be excluded. See Au New Haven v. Ykk Corp., No.
15-cv-3411, 2019 U.S. Dist. LEXIS 45044, at *10-11 (S.D.N.Y. Mar. 19, 2019).

Dr. Gortler’s Discussion of Alleged Calcium-Binding Effects of Apoaequorin and
Unrelated Drugs Should Be Excluded as Irrelevant and Misleading. Dr. Gortler seeks to
testify about calcium’s relationship to Alzheimer’s disease, and about apoaequorin’s calcium-
binding effect in the brain. Such testimony is unreliable and irrelevant because apoaequorin is
not offered to treat Alzheimer’s disease, and apoaequorin has not been shown to cross the human
blood-brain barrier. Dr. Gortler’s speculative testimony therefore lacks sufficient reliability to be
presented to the jury. Moreover, Dr. Gortler, who has not conducted any study or analysis on the
absorption or effect of apoaequorin in humans, seeks to opine that a number of drugs,
compounds, and microorganisms might have some effect on the body – without determining
whether these drugs, compounds, and microorganisms have similarities to apoaequorin.

Defendants’ Experts Should Be Precluded From Testifying Without Reviewing the
Relevant Data. Defendants’ experts’ testimony should be excluded where it does not rely on
sufficient facts or data. See Fed. R. Evid. 702(b); United States v. Chang, No. 18-cr-501, 2020
U.S. Dist. LEXIS 10778, at *5 (E.D.N.Y. Jan. 21, 2020). For example, Dr. Gortler opined about
the Madison Memory Study, but later conceded that he cannot offer an opinion about it and did
not review the study’s underlying data. He should therefore be precluded from testifying about it.

Drs. Kurzer, Schwartz, and Katz Should Be Precluded From Discussing Apoaequorin’s
Potential Mechanisms of Action. Dr. Kurzer concedes that she opines about potential theories
based on references that are not related to apoaequorin. Dr. Schwartz concedes that he would
only be speculating about apoaequorin’s potential mechanisms of action. And Dr. Katz
confirmed that he is not taking a position on potential mechanisms of action. They should all
therefore be precluded from offering such misleading and irrelevant testimony.

For the foregoing reasons, Plaintiffs request that the Court grant them leave to file a Daubert
motion to exclude the opinions of Defendants’ experts on various grounds.
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                                 Respectfully,


/s/Annette Soberats                              /s/ Kate Matuschak
Annette Soberats, Attorney                       Kate Matuschak
Federal Trade Commission                         Assistant Attorney General
                                                 New York State Office of
                                                 the Attorney General



cc: All parties via ECF
